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   RANDY S. GROSSMAN
 1 United States Attorney
   MELANIE K. PIERSON
 2 SABRINA L. FEVE
 3 Assistant U.S. Attorneys
   California Bar No. 112520/226590
 4 Office of the U.S. Attorney
   880 Front Street, Room 6293
 5 San Diego, CA 92101
   Tel: (619) 546-7976
 6 Fax: (619) 546-0631
   Email:Melanie.Pierson@usdoj.gov/Sabrina.Feve@usdoj.gov
 7
 8 CANDINA S. HEATH
   Senior Counsel
 9 Texas Bar No. 09347450
   Computer Crime and Intellectual Property Section
10 U.S. Department of Justice
   Washington, D.C. 20005
11 Tel: (202) 307-1049
   Email: Candina.Heath2@usdoj.gov
12
   Attorneys for Plaintiff
13 United States of America
14
                              UNITED STATES DISTRICT COURT
15
                         SOUTHERN DISTRICT OF CALIFORNIA
16
     UNITED STATES OF AMERICA,                    Case No.: 18cr4683-GPC
17
                 Plaintiff,                       GOVERNMENT’S REPLY TO
18                                                DEFENDANTS’ OPPOSION TO
           v.                                     THE GOVERNMENT’S
19                                                AMENDED NOTICE OF
     JACOB BYCHAK (1),                            AUTHENTICTION PURSUANT
20   MARK MANOOGIAN (2),                          TO FED. R. EVID. 902(11) & (13)
21   ABDUL MOHAMMED QAYYUM (3), and
     PETR PACAS (4),
22
                 Defendants.
23
24        COMES NOW the plaintiff, United States of America, by and through its counsel,
25 Randy S. Grossman, United States Attorney, and Assistant United States Attorneys
26 Melanie K. Pierson, Sabrina L. Fève, and Computer Crime and Intellectual Property
27 Section Senior Counsel Candy Heath, and hereby files its above-referenced Supplemental
28
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 1 Briefing Regarding Authentication Pursuant to Fed. R. Evid. 902(11) & (13), based on the
 2 files and records of the case.
 3                                                      I.
 4                                                 INTRODUCTION
 5           We wish to make efficient use of the jury’s time. The purpose of a Rule 902(11) and
 6 (13) certificate of authentication (COA) is to avoid “the expense and inconvenience of
 7 producing time-consuming foundation witnesses.” United States v. Kahre,, 610 F.Supp.2d
 8 1261, 1263 (D.Nev. 2009). Foundation witnesses testify only to a document’s authenticity,
 9 typically as a custodian of records. The custodians who prepare Rule 902(11) and (13)
10 COAs do not need to have personal knowledge of the documents’ contents. United States
11 v. Siders, 712 Fed.Appx 601, 603 (9th Cir. 2017). There “is no requirement that” the
12 custodian “establish when and by whom the documents were prepared.” United States v.
13 Ray, 930 F.2d 1368, 1370 (9th Cir. 1990). A custodian just needs to be familiar with how
14 the business “received, processed, or maintained” the records. Siders, 712 Fed.Appx. at
15 603. Objections to the records’ contents are separate from whether the records themselves
16 are authentic.
17           The courts have repeatedly held that email records are properly authenticated via a
18 Rule 902(11) certification. In United States v. Gal, 606 Fed.Appx. 868, 874-75 (9th Cir.
19 2015), the Ninth Circuit upheld the authentication of Yahoo emails over a defendant’s
20 claim that the COA provided by Yahoo was insufficient because it did not attest to who
21 sent the emails. Similarly, the Fifth Circuit has found that COAs from Google and Yahoo
22 properly authenticated emails and the Fourth Circuit has ruled that COAs from Google,
23 Time Warner Cable, and Facebook, which “did nothing more than authenticate the business
24 records to which they pertain” were sufficient. United States v. Ayelotan, 917 F.3d 394,
25 402 (5th Cir. 2019); United States v. Denton, 944 F.3d 170, 184 (4th Cir. 2019).
26       Defendants do not distinguish any of these Circuit Court opinions. The one Circuit
27 Court case they cite, Collins v Kibort, 143 F.3d 331, 338 (7th Cir. 1998), did not involve a
28 Rule 902(11) or (13) COA and does not support their argument. Rather, Collins confirmed
     Government’s Reply Brief re Authentication under   2              18cr4683-GPC
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 1 that the person who prepares a COA does not have to “be the person who prepared the
 2 record” or “have personal knowledge of the entries in the records.” Id. A custodian of
 3 record just needs to “have knowledge of the procedure under which the records were
 4 created.” Id. Collins ruled that the plaintiff, a public-school staff member who testified at
 5 trial in his own employment discrimination case, could not authenticate the medical bills
 6 generated by the hospital that treated him under Rule 803(6). Id. at 337-38. All the
 7 government’s COAs, however, were prepared by employees of the company that
 8 maintained and produced the records. That these custodians may have obtained the
 9 documents from a predecessor or through a DBA does not matter. Siders, 712 Fed.Appx at
10 603. The state and district court decisions cited by the defense, which the government will
11 address below, are similarly distinguishable.
12           Defendants remaining arguments fall into the following categories: (1) their belief
13 that the government can or should authenticate the records at issue via Rule 901(b)(1)
14 (testimony of a witness with knowledge); (2) questions about the documents themselves
15 (e.g., “Documents prepared by the persons whose names appear on them? Documents with
16 a connection to any of the defendants?”); (3) an attack on the Amobee custodian of record;
17 (4) the corporate identity of the COA affiants; and (5) the records accompanying the COA
18 not being attached or identified. For the reasons described below, each of these arguments
19 fails.
20                                                         II
21                                                      ARGUMENT
22           A. Authentication Is a Low Bar
23           Admissibility is a separate and distinct issue from authenticity. To authenticate a
24 document, a “proponent must produce evidence sufficient to support a finding that the item
25 is what the proponent claims it is.” Fed. R. Evid. 901(a). To support such a finding, the
26 proponent “need only make a prima facie showing of authenticity” and “establish a
27 connection between the proffered evidence and the defendant.” United States v. Tank, 200
28 F.3d 627, 630 (9th Cir. 2000). Disputes over authentication should be about whether it is
     Government’s Reply Brief re Authentication under      3           18cr4683-GPC
     FRE 902(11) & (13)
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 1 reasonably likely that the evidence is what the proponent says (e.g., a Company A email),
 2 not over the evidence’s probative value. The courts can therefore properly “admit[]
 3 evidence that meets the minimum requirements for authentication under the Federal Rules
 4 of Evidence” and let opposing counsel “argue that the jury should give the evidence
 5 minimal weight.” United States v. Ortiz, 776 F.3d 1042, 1045 (9th Cir. 2015).
 6              This low bar extends to the custodian’s qualifications. “The Ninth Circuit has set a
 7 low bar for what constitutes ‘another qualified witness’” in terms of who may fill out the
 8 declaration; indeed, “[t]he phrase ‘other qualified witness’ is broadly interpreted to require
 9 only that the witness understand the record-keeping system.” Curley v. Wells Fargo & Co.,
10 120 F. Supp. 3d 992, 998 (N.D. Cal. 2015) (quoting Ray, 930 F.2d at 1370); see also United
11 States v. Khatallah, 278 F. Supp. 3d 1, 6 (D.D.C. 2017) (finding CEO of foreign
12 telecommunications company “another qualified person” for purposes of 18 U.S.C. § 3505
13 because the CEO was among the founders of the company, had been involved with the
14 company for many years, and had a role in the format of the company’s records).
15              B. Defendants’ Last-Minute Challenges Should Be Denied
16              As a threshold matter, defendants’ refusal to identify their challenges to the
17 governments’ COAs until May 19, 2022, undermines the fairness and legitimacy of their
18 arguments. The government provided notice of its intent to authenticate business and
19 electronic evidence pursuant to Rules 902(11) and 902 (13) on March 18, 2022. [ECF 347.]
20 The records in questions were provided to the defense for inspection and copying, and were
21 disclosed in electronic form, along with the certificates of authenticity. On April 29, 2022,
22 the government filed its Amended Notice of Intent to Authenticate Evidence, providing
                                                                                    1


23 copies of the individual certificates of authenticity and identifying the exact trial exhibits
24 sought to be authenticated. [ECF 397.] The government also repeatedly asked the
25 defendants to identify or explain the challenges to the COAs verbally and in email,
26 including emails sent on April 22, 2022, and May 12, 2022. The defense did not reply until
27 late on May 17, 2022, when they indicated they would oppose all 902(11) COAs, but
28   1
         One supplemental document and accompanying Certificate of Authorization was filed on May 5, 2022.
     Government’s Reply Brief re Authentication under             4                          18cr4683-GPC
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 1 agreed to a 902(13) COA for Telic and the Delaware and Louisiana public records (which
 2 are self-authenticating under Rule 902(2) and (4), as well as Rule 902(11), but likely not
 3 902(13)). On May 19, 2022, the defendants agreed to an additional four COAs, including
 4 for Telic and ARIN, from whom they will also be seeking to authenticate evidence.
 5 Notably, the defendants do not agree that the COAs are appropriate, but only agree to
 6 stipulate that the records are authentic.
 7           The notice requirement under Rule 902(11) is “intended to give the opponent of the
 8 evidence a full opportunity to test the adequacy of the foundation set forth in the
 9 declaration.” Fed. R. Evid. 902(11) Advisory Committee’s Note to the 2000 amendments;
10 see also United States v. Bledsoe, 70 Fed. App’x. 370, 373 (7th Cir. 2003) (“The purpose
11 of giving notice and an opportunity to review, under Rule 902(11) is for the adverse party
12 to have the opportunity to verify, and challenge if necessary, the accuracy and reliability
13 of the records and/or certifying affidavits.”). “In other words, the burden is put on the
14 opponent of the evidence, given enough time to do so, to show that the foundation provided
15 by the affiant is so weak as to fail to meet the minimal standards of authenticity established
16 by Article 9 of the Federal Rules.” DirecTV, Inc. v. Murray, 307 F. Supp.2d 764, 773
17 (D.S.C. 2004).
18           C. The COAs are Legally and Factually Sufficient
19           Defendants’ five arguments fail for the following reasons.
20                   1. Rule 901(b)(1) vs. Rule 902(11)/(13)
21           Defendants’ first argument is that the government should not be able to rely on Rule
22 902(11) and 902(13) because the government can also authenticate the records from
23 Broadcloud, the Mata Group, Cogent, Hostwinds, GoDaddy, PayPal, Name.com, Enom,
24 Enom/Tucows, and Amboee by causing a live witness to travel to San Diego to answer the
25 basic business record custodian questions. Defendants’ argument misses the mark legally
26 and factually. First, as the party with the “burden of persuasion,” the government is
27 “entitled to prove its case” without being required to stipulate to evidentiary theories
28 selected by the defendant. Old Chief v. United States, 519 U.S. 172, 189 (1997). There are
     Government’s Reply Brief re Authentication under   5                 18cr4683-GPC
     FRE 902(11) & (13)
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 1 often multiple legal theories under which the government can introduce evidence. The
 2 availability of multiple theories does not mean the defense gets to choose which one the
 3 government can pursue. In United States v. Safavian, 435 F.Supp.2d 36, 38-42 (D.D.C.
 4 2006), which the defense relies on, the district court examined the different ways an email
 5 could be authenticated, ultimately finding that the emails at issue could be authenticated
 6 under both Rule 901(b)(3) and 901(b)(4).2 That the government can introduce records
 7 under either Rule 902(11)/(13) or Rule 901(b)(1), which permits a witness to authenticate
 8 records, is therefore legally irrelevant.
 9           The argument that the government should call witnesses rather than rely on a COA
10 misunderstands the facts. The government has only provided notice that it is many of these
11 custodians of record because there has been no ruling on the Rule 902(11)/(13) COAs. If
12 the COAs were accepted, the government would release five of these witnesses, which
13 would make the trial shorter, less costly, and be a relief to these witnesses who otherwise
14 need to travel from out of state. Similarly, for those individuals who will be testifying, it
15 will make their testimony shorter if they do not also need to authenticate the records and
16 can instead just testify as percipient witnesses. Moreover, the government may seek to use
17 the records with other witnesses, prior to the testimony of the witness who was also acting
18 as the records custodian. Those witnesses may provide a basis for the records’
19 admissibility, but not its authenticity.
20              2. Defendant’s Factual Questions
21           Defendants raise a series of questions they have about the documents, including,
22 were the “[d]ocuments prepared by the persons whose names appear on them?” and do the
23 documents have “a connection to any of the defendants?” These questions are like the
24
25  Safavian, as the defense points out, also found that emails could not be authenticated under
     2


   Rule 902(11). Safavian was issued in early 2006. Since then, email has become a much
26 more pervasive part of life and work. The Ninth, Fifth, and Fourth Circuit decisions
27 discussed above, which were decided in 2015 and 2019, are both more authoritative and
   more reflective of how widespread electronic business records have become since Safavian
28 was written.
     Government’s Reply Brief re Authentication under   6             18cr4683-GPC
     FRE 902(11) & (13)
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 1 authentication challenges rejected by the Ninth Circuit in Ray, 930 F.2d at 1370, which
 2 held that there “is no requirement that the government establish when and by whom the
 3 documents were prepared” or how it “was compiled.” The “content of a record does not
 4 impact the way in which it was received, processed, or maintained.” Siders, 712 Fed.Appx.
 5 at 603. Defendants also speculate that a single custodian of record cannot authenticate 1.3
 6 million records but provide no technical or legal explanation for why. The issue, under
 7 Rule 902(11), is not the content of the emails, or how many there are, but the process
 8 whereby the were made, stored, and kept, and whether the person making the certification
 9 had knowledge of that process. Fed. R. Evid. 902(11). Similarly, under Rule 902(13), the
10 question is whether the company’s electronic process or system generates accurate results,
11 i.e., the records were copied from electronic devices, storage medium, or files in the
12 company’s custody and in a manner to ensure true duplicates, the company regularly
13 verified that process or system, and the certified records were made during a period when
14 that process or system was verified to be properly functioning. Fed. R. Evid. 902(13).
15           There is no reasonably consistent argument that can be made asserting the Telic
16 emails are authentic, but the Amobee emails are not. They are both emails produced by a
17 company that uses and maintains its employees’ email in the course of the company’s
18 regularly-conducted business. The companies were managed and co-owned by the same
19 person. Defendant Petr Pacas worked at both Amobee and Telic. Defendant Abdul
20 Mohamed Qayyum spent time at both work sites. Despite this intimate knowledge of both
21 Amobee and Telic’s email practices, the defense has offered no explanation for why Telic’s
22 emails are properly authenticated, but Amobee’s are not – and the COAs for the two
23 companies are legally indistinguishable.
24            3. The Attack on Amobee’s Custodian of Record
25           The defense singles out Mario Samonte, Amobee’s custodian of record, and asserts
26 that he, as a “develops engineer,” would have no knowledge of how Amobee maintains its
27 business records. The defense, however, has the transcript of Mr. Samonte’s prior grand
28 jury appearance. There, he testified that he began working at one of the predecessor
     Government’s Reply Brief re Authentication under   7            18cr4683-GPC
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 1 companies to Amobee in 2006 as the systems administrator. Samonte, who has a college
 2 degree in computers, held the position of system administrator through at least 2018.
 3 According to Samonte, as the systems administrator, he was responsible for helping people
 4 with their IT needs and keeping the servers up and running. Samonte said he “was in charge
 5 of all IT needs for all the employees.” Samonte explained that as the company grew to have
 6 100 employees, he eventually supervised a team of five people, but he remained “the main
 7 guy” for supporting the email platform. According to Samonte, he “would be the single
 8 person to support all of them [the employees], on top of the email platform that I’m
 9 supporting.” When the firm became a global company after being acquired by Amobee,
10 Samonte took “more of a systems and engineering role” while still maintaining the email
11 platform needed for mailing. The defense’s baseless attack on Mr. Samonte’s qualification
12 as a custodian of record pursuant to Rule 902(11) or 902(13) are therefore unavailing.
13                   4. Corporate Identities
14           Defendants challenge the COAs for GetAds and CPH Resources because of alleged
15 confusion over the corporate identity of the individual signing the COAs. GetAds
16 successor-in-interest, Native Rank, certified the COA. The custodian of record for Native
17 Rank testified before the grand jury regarding the record keeping practices at GetAds and
18 regarding Native Rank’s acquisition of GetAds. Similarly, the paralegal who managed
19 CPH Resources and, at times, served as its custodian of record, also testified before the
20 grand jury, including to establish that CPH Resources was a DBA set up by Company A.
21 The defense points to nothing from either transcript to suggest these custodians were
22 unqualified.
23           Instead, they cite to two cases, State v. Huggins, 659 F.2d 613 (Alaska App. Ct.
24 1982) and DirecTV v. Reyes, 2006 WL 533364 at *5 (N.D. Ill. March 1, 2006). Huggins
25 did not involve the Federal Rules of Evidence, but rather addressed Alaska state rules
26 governing self-authentication of breathalyzer results. DirecTV involved a smaller error in
27 the drafting of the COA, where the custodian certified the database that produced the
28
     Government’s Reply Brief re Authentication under   8            18cr4683-GPC
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 1 record, rather than the record itself, the court noted both the minor error and that “it is likely
 2 that DirecTV can fill this gap,” and permitted DirecTV to submit a revised declaration.
 3           Neither case suggests, let alone requires, that the government must provide a
 4 corporate genealogy with each Rule 902(11) COA or that the custodian needs to be the
 5 same corporate entity as the one who originally created, processed, or maintained the
 6 record. It is well established that one entity may receive and maintain documents in the
 7 regular course of business for purposes of Fed. R. Evid. 803(6) , 902(11) and 902(13), even
 8 if the records were created by a third party. United States v. Childs, 5 F.3d 1328, 1333–34
 9 (9th Cir. 1993); Siders, 712 Fed. Appx. at 603; United States v. Duncan, 919 F.2d 981, 986
10 (5th Cir.1990) (holding “there is no requirement that the records be created by the business
11 having custody of them”).
12           In Siders, the defendants challenged a Rule 902(11) COA because mortgage loan
13 documents used in the fraud case against her were originally issued by Washington Mutual,
14 but the COA was signed by a representative of JPMorgan Chase. 712 Fed.Appx. at 603.
15 The defendant also challenged the authentication of the mortgage documents because there
16 was no evidence that she prepared them and the fact that they contained false statements
17 undermined their reliability. Id. The Ninth Circuit rejected all of these arguments, ruling
18 that what mattered was whether the documents “were received by those processing the
19 mortgages in the regular course of business.” Id.
20      5.     The COAs’ Attachments
21           Defendants argue that they cannot tell which documents were attached to the COAs
22 from Broadcloud, Cogent, Hostwinds, GoDaddy, PayPal, Name.com, Enom, and
23 Enom/Tucows. They have never raised this objection until now. The COAs were produced
24 to the government by the provider along with the certified documents. The government,
25 in turn, produced the COAs and documents together to the defense in the following
26 productions:
27
28
     Government’s Reply Brief re Authentication under   9                 18cr4683-GPC
     FRE 902(11) & (13)
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 1       Ex No.    Provider                 Beg. Bates No.           End Bates No. 3
                                            ADCONION-BROADCLOUD-     ADCONION-BROADCLOUD-
 2       207       Broadcloud               026-00001                026-00001
 3                                          ADCONION-COGENT-14-10-   ADCONION-COGENT-14-10-
         227       Cogent                   00001                    00001
 4                                          ADCONION-GODADDY-032-    ADCONION-GODADDY-032-
         232       GoDaddy                  00002                    00002
 5                                          ADCONION-PAYPAL-14-      ADCONION-PAYPAL-14-003-
         233       PayPal                   003-00002                00002
 6
                                            ADCONION-NAME-058-
         234       Name.com                                          ADCONION-NAME-058-00001
 7                                          00001
         238       Enom/Tucows              ADCONION-DISC59-00090    ADCONION-DISC59-00090
 8
                                            ADCONION-ENOM-15-06-     ADCONION-ENOM-15-06-
 9       239       Enom                     00001                    00001
10
11             The only exception is Hostwinds, for which the government provided detailed
12 screenshots showing the electronic bates numbers of the records that, together, totaled
13 21,176.569 KB. The defendants therefore had the COAs with the attached records.
14                                                          III
15                                                      CONCLUSION
16             The emails and electronic transactional records at issue with these COAs (i.e.,
17 domain registration documents from GoDaddy, Name.com, Enom, and Enom/Tucows) are
18 ordinary business documents that are legally indistinguishable from the mortgage loan
19 documents at issue in Siders. Businesses send, receive, and store emails as a means of doing
20 business. Employees use their email accounts every day to do their jobs. Like the banks in
21 Sider, the companies at issue here maintained and stored these documents, even when they
22 merged. The emails, like the mortgage documents, are a wrapper in which people put
23 information. Sometimes that information is accurate and reliable, sometimes it includes
24 fraudulent statements. The content of the email, like the content of the mortgage document,
25 does not affect the analysis, which is whether the custodian properly stored and maintained
26
27  Where there is only one page number, it is because the documents were produced together
     3


   electronically in a format that did not enable bates pagination. The bates range further
28 indicates which provider produced those records.
     Government’s Reply Brief re Authentication under       10            18cr4683-GPC
     FRE 902(11) & (13)
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 1 these records themselves. Defendants’ challenges should therefore be denied and the COAs
 2 adopted for purposes of authentication.
 3
             DATED: May 20, 2022                        Respectfully submitted,
 4
 5                                                        RANDY S. GROSSMAN
                                                          United States Attorney
 6
 7                                                        /s/Melanie K. Pierson
 8                                                        Assistant United States Attorney

 9                                                        /s/Sabrina L. Fève
10                                                        Assistant United States Attorney

11                                                        /s/Candy Heath
12                                                        Senior Counsel
                                                          Computer Crime and Intellectual Property Section
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     Government’s Reply Brief re Authentication under          11                   18cr4683-GPC
     FRE 902(11) & (13)
